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          IN THE UNITED STATES DISTRICT COURT
             NORTHERN DISTRICT OF GEORGIA
                    ATLANTA DIVISION
 WALTER GREGORY DAVIS,

       Plaintiff,                          CIVIL ACTION FILE NO.
                                           _______________________
 v.

 BEST WAY EXPRESS, INC.,                   REMOVED FROM STATE COURT
 NATIONAL INTERSTATE                       OF GWINNETT COUNTY
 INSURANCE COMPANY, AND                    20-C-09139-S1
 CHAD E. MOREHEAD,

       Defendants.

  DEFENDANT BEST WAY EXPRESS, INC.'S NOTICE OF REMOVAL


      TO: The Honorable Judges of the United States District Court for the Northern

District of Georgia, Atlanta Division:

      COMES NOW, BEST WAY EXPRESS, INC. (hereinafter “Defendant”), and

files the following Notice of Removal to United States District Court, showing the

Court as follows:

      1.      Plaintiff WALTER GREGORY DAVIS (hereinafter “Plaintiff”), a

Georgia resident and citizen, filed this action in the State Court of Gwinnett County,

on December 21, 2020 against BEST WAY EXPRESS, INC., NATIONAL

INTERSTATE INSURANCE COMPANY, AND CHAD E. MOREHEAD. That
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action is designated there as Civil Action File No.: 20-C-09139-S1. A true and correct

copy of the Complaint is included in the State Court file attached as Ex. A.

      2.      Plaintiff’s Complaint, inter alia, alleges that Defendants are liable to

the Plaintiff for negligently causing Plaintiff’s injuries that were sustained from an

accident which occurred on July 9, 2019. (See Ex. A, ¶ 1).

      3.       Plaintiff Walter Gregory Davis is a Georgia resident and, thus, a citizen

of Georgia. (See Ex. B, p. 3). Plaintiff is a registered voter in the State of Georgia

with residence at 37 Stonehaven Drive, Newton, GA 30265 in Newton County. (See

Ex. C). If a person is domiciled in [Michigan], he was a citizen of that state within

the meaning of the Judicial Code. Gilbert v. David, 235 U.S. 561, 569 (1915).

      4.      Defendant Best Way Express, Inc. is now and was at the

commencement of Civil Action File No.: 20-C-09139-S1 and at all times since has

been a foreign company organized and existing under the laws of the State of Indiana

with its principal place of business in Indiana. (See Indiana Secretary of State

Records as Ex. D).

      5.       Defendant Chad Morehead was at the commencement of Civil Action

File No.: 20-C-091391-S1, and at all times since has been a citizen of the State of North

Carolina. (See Ex. "A", ¶ 5; Ex. B, p, 1). If a person is domiciled in [Michigan], he
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was a citizen of that state within the meaning of the Judicial Code. Gilbert v. David,

235 U.S. 561, 569 (1915).

      6.      Defendant National Interstate Insurance Company is now and was at the

commencement of Civil Action File No.: 20-C-09139-S1, and at all times since has

been a foreign company organized and existing under the laws of the State of Ohio

with its principal place of business in Ohio. (See Georgia Secretary of State Records

as Ex. E).

      7.      The action described above is a civil action with a claim of which this

Court has original jurisdiction, and it is one that may be removed to this Court by the

Defendants pursuant to the provisions of 28 USC §§ 1332 and 1441 et seq., in that

there is complete diversity among Plaintiff and the identified, named Defendants, the

Parties were not residents of the same State at the time of filing of the Complaint, and

the amount in controversy exceeds $75,000 exclusive of interest and costs.

      8.      Defendant files herewith a copy of all process, pleadings, and orders

received by Defendant in Civil Action File No.: 20-C-09139-S1, pursuant to 28 USC

§1446, including a copy of the Summons and Complaint in State Court of Gwinnett

County, State of Georgia, marked as Ex. A.
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      9.      Defendant attaches hereto a copy of Defendant's Notice of Removal

which has been sent for filing in the Superior Court of Walker County, State of

Georgia, marked as Ex. F.

      10.     Defendant attaches hereto a copy of Defendant's Brief in Support of

Notice of Removal, marked as Ex. G.

      Respectfully submitted this 19th day of January, 2021.

                                            HALL BOOTH SMITH, P.C.

                                            /s/ Sandro Stojanovic
                                            SCOTT H. MOULTON
                                            Georgia State Bar No. 974237
                                            SANDRO STOJANOVIC
                                            Georgia State Bar No. 473114
                                            Counsel for Defendants
191 Peachtree Street NE, Suite 2900
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smoulton@hallboothsmith.com
sstojanovic@hallboothsmith.com
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 INSURANCE COMPANY, AND                   20-C-09139-S1
 CHAD E. MOREHEAD,

       Defendants.

                      CERTIFICATE OF COMPLIANCE


       The foregoing DEFENDANT BEST WAY EXPRESS, INC.'S NOTICE OF

REMOVAL and request for trial date is double spaced in 14 point Times New

Roman font and complies with the type-volume limitation set forth in Local Rule

7.1.

       Respectfully submitted this 19th day of January, 2021.

                                             HALL BOOTH SMITH, P.C.

                                             /s/ Sandro Stojanovic
                                             SCOTT H. MOULTON
                                             Georgia State Bar No. 974237
                                             SANDRO STOJANOVIC
                                             Georgia State Bar No. 473114
                                             Counsel for Defendants
191 Peachtree Street NE, Suite 2900
        Case 1:21-cv-00294-ELR Document 1 Filed 01/19/21 Page 6 of 8




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                IN THE UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

 WALTER GREGORY DAVIS,

       Plaintiff,                          CIVIL ACTION FILE NO.
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 CHAD E. MOREHEAD,

       Defendants.

                         CERTIFICATE OF SERVICE


      I hereby certify that on this day I have served a copy of the within and

foregoing DEFENDANT BEST WAY EXPRESS, INC.'S NOTICE OF

REMOVAL upon all parties to this matter by depositing same in the U.S. Mail

and/or via e-file and serve as required by law:

                                   J. L. King, II
                                  The King Firm
                               1603 N. U.S. Hwy 41
                                  P.O. Box 746
                                Tifton, GA 31794
                              JL@KingTrialLaw.com
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      This 19th day of January, 2021.
                                        HALL BOOTH SMITH, P.C.

                                        /s/ Sandro Stojanovic
                                        SCOTT H. MOULTON
                                        Georgia State Bar No. 974237
                                        SANDRO STOJANOVIC
                                        Georgia State Bar No. 473114
                                        Counsel for Defendants
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